               3:14-cv-03577-CMC                        Date Filed 12/14/15             Entry Number 136-8   Page 1 of 119

                                                                                        Thomas Affidavit Exhibit S
From:                                          Marsha Miller <mmiller@acgme.org>
Sent:                                          Friday, April 27, 2012 11:27 AM
To:                                            David Koon; 'katherine.stephens@palmettohealth.org'
Cc:                                            Pam Derstine; Pat Surdyk; Kevin Weiss; John Potts
Subject:                                       Complaint about the Orthopaedic Surgery Program at Palmetto Health/University of
                                               South Carolina School of Medicine
Attachments:                                   Palmeto Health U of South Carolina Ortho PD-DIO final LETTER.pdf


Dear Drs. Koon and Stephens:

Afraaz Irani, MD, has submitted a complaint about lack of and unfair due process and grievance at Palmetto Health, and
other allegations of noncompliance by its Orthopaedic Surgery program. Attached is my letter outlining the complaint,
and I will send his supporting documentation under separate email so as not to overload everyone’s mail box. Your
response is due May 28, 2012, and I would appreciate acknowledgement of this email.

Sincerely,

Marsha Miller


Marsha A. Miller, MA
Associate Vice President, Office of Resident Services


                                                                          ACGME
                                                  515 N. State Street, Suite 2000
                                                               Chicago, IL 60654
                                                           Office: 312‐755‐5041
                                                            mmiller@acgme.org




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                                                                                                                  USC(Irani)0511
3:14-cv-03577-CMC   Date Filed 12/14/15   Entry Number 136-8   Page 2 of 119




                                                                    USC(Irani)0512
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                                                                    USC(Irani)0513
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                                                                    USC(Irani)0516
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                                                                    USC(Irani)0517
             3:14-cv-03577-CMC                     Date Filed 12/14/15              Entry Number 136-8   Page 8 of 119




From:                                         Marsha Miller <mmiller@acgme.org>
Sent:                                         Friday, April 27, 2012 12:12 PM
To:                                           David Koon; katherine.stephens@palmettohealth.org
Subject:                                      RE: Dr. Afraaz Irani'sComplaint attachments
Attachments:                                  Palmeto Health U of South Carolina Ortho attachment 1.pdf; Palmeto Health U of
                                              South Carolina Ortho attachment 2.pdf


Sorry. Here they are.




From: David Koon [mailto:David.Koon@uscmed.sc.edu]
Sent: Friday, April 27, 2012 11:09 AM
To: Marsha Miller; katherine.stephens@palmettohealth.org
Subject: RE: Dr. Afraaz Irani'sComplaint attachments

No attachments on my email...

David Koon

From: Marsha Miller [mmiller@acgme.org]
Sent: Friday, April 27, 2012 11:30 AM
To: David Koon; katherine.stephens@palmettohealth.org
Subject: Dr. Afraaz Irani'sComplaint attachments

Dear Dr. Koon and Stephens,

Attached are the documents that Dr. Afraaz Irani submitted to substantiate his complaint alleging that the institution
and Orthopaedic Surgery program are non‐complaint with ACGME requirements. Please acknowledge receipt of this
email.

Sincerely,

Marsha Miller


               Marsha A. Miller, MA
               Associate Vice President, Office of Resident Services



                                                                          ACGME
                                                  515 N. State Street, Suite 2000
                                                               Chicago, IL 60654
                                                           Office: 312‐755‐5041
                                                            mmiller@acgme.org




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                                                                                                              USC(Irani)0518
           3:14-cv-03577-CMC            Date Filed 12/14/15         Entry Number 136-8          Page 9 of 119


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3:14-cv-03577-CMC   Date Filed 12/14/15   Entry Number 136-8   Page 10 of 119




                                                                     USC(Irani)0520
3:14-cv-03577-CMC   Date Filed 12/14/15   Entry Number 136-8   Page 11 of 119




                                                                     USC(Irani)0521
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                                                                     USC(Irani)0522
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                                                                     USC(Irani)0523
              3:14-cv-03577-CMC                         Date Filed 12/14/15             Entry Number 136-8   Page 14 of 119



From:                                          Marsha Miller <mmiller@acgme.org>
Sent:                                          Friday, May 04, 2012 4:47 PM
To:                                            katherine.stephens@palmettohealth.org; David Koon
Subject:                                       Afraaz Irani's Complaint about the Orthopaedic Surgery Program and the Institution
Attachments:                                   Palmeto Health U of South Carolina Ortho attachment 1 revised.pdf; Palmeto Health U
                                               of South Carolina Ortho attachment 2 revised.pdf


Dear Drs. Koon and Stephens,

Dr. Irani has submitted a revised, more complete document to support his complaint. It is attached for your
consideration as you prepare your response to the allegations in my letter of April 27, 2012.

Sincerely,


Marsha Miller




Marsha A. Miller, MA
Associate Vice President, Office of Resident Services


                                                                          ACGME
                                                  515 N. State Street, Suite 2000
                                                               Chicago, IL 60654
                                                           Office: 312‐755‐5041
                                                            mmiller@acgme.org




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                                                                     USC(Irani)0588
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                                                                     USC(Irani)0611
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                                                                     USC(Irani)0659
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                                                                     USC(Irani)0666
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                                                                     USC(Irani)0667
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                                                                     USC(Irani)0670
          3:14-cv-03577-CMC          Date Filed 12/14/15       Entry Number 136-8         Page 101 of 119



From:                            Katherine Stephens <Katherine.Stephens@palmettohealth.org>
Sent:                            Monday, May 28, 2012 2:12 PM
To:                              Marsha Miller
Subject:                         Response to ACGME Complaint Letter Dated April 27, 2012
Attachments:                     ACGMEComplaintResponseLetterwithAttachments_052512.pdf


Ms. Miller:

Please find attached a letter from Palmetto Health along with other documentation in response to the ACGME’s
complaint letter dated April 27, 2012.

Katherine G. Stephens, PhD, MBA, FACHE
Vice President, Medical Education & Research
ACGME Designated Institutional Official
Palmetto Health
3555 Harden Street Extension
15 Medical Park, Suite 202
Columbia, SC 29203

katherine.stephens@palmettohealth.org
Office: 803‐434‐6861
Fax: 803‐434‐4419


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                                                                     USC(Irani)0672
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                                                                     USC(Irani)0673
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                                                                     USC(Irani)0681
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                                                                     USC(Irani)0687
             3:14-cv-03577-CMC                      Date Filed 12/14/15                 Entry Number 136-8   Page 118 of 119



From:                                          Marsha Miller <mmiller@acgme.org>
Sent:                                          Thursday, August 02, 2012 2:09 PM
To:                                            David Koon; katherine.stephens@palmettohealth.org
Cc:                                            Pam Derstine; Pat Surdyk
Subject:                                       Review Committee for Orthopaedic Surgery's Decision on Afraaz Iran's complaint
Attachments:                                   Palmetto Health U SC Ortho PD-DIO Dismissal.pdf


Dear Drs. Koon and Stephens:

Here is my letter about the Review Committee for Orthopaedic Surgery’s dismissal decision on the complaint submitted
by Afraaz Irani.

Sincerely,

Marsha Miller




Marsha A. Miller, MA
Associate Vice President, Office of Resident Services


                                                                          ACGME
                                                  515 N. State Street, Suite 2000
                                                               Chicago, IL 60654
                                                           Office: 312‐755‐5041
                                                            mmiller@acgme.org




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                                                                                                                   USC(Irani)0688
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                                                                     USC(Irani)0689
